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Dated: May 17, 2022
The following is SO ORDERED:


                                                  ________________________________________
                                                                Jimmy L. Croom
                                                     UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________




                            UNITED STATES BANKRUPTCY COURT
                                 Western District Of Tennessee
                                       Eastern Division


In Re:                                                                Case No. 19-11943
Demetris R. Bailey & Cindy E. Bailey
Debtors                                                               Chapter 13
SSN(1)XXX-XX-4282 SSN(2)XXX-XX-0080


           ORDER DIRECTING PRESENT EMPLOYER TO CHANGE DEDUCTIONS


   In this matter, it appearing to the Court that an order has been entered changing the
debtor's plan payments.

    THEREFORE:
    That the debtor's employer, City of Dyer, change the deductions to $137.00 WEEKLY
from income paid to Demetris R. Bailey and forward same to the Chapter 13 Trustee, P.O.
Box 6003, Memphis, TN 38101-6003, at least once per month.

/s/ Timothy H. Ivy
TIMOTHY H. IVY (18053)
CHAPTER 13 TRUSTEE
250 N. PARKWAY, SUITE 1
JACKSON, TN 38305-2735
(731) 664-1313
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CC:    Chapter 13 Trustee
JLS
       Debtors:
       Demetris R. Bailey & Cindy E. Bailey
       210 S. Poplar St.
       Dyer, TN 38330

       Attorney for Debtors:
       CARL JEROME TEEL, JR.
       TEEL & GAY, PLC
       425 EAST BALTIMORE
       JACKSON, TN 38301

       Employer:
       City of Dyer
       105 South Main St
       Dyer, TN 38330
#485
